Case 1:04-cv-10981-PBS Document 1725-5 Filed 03/23/09 Page 1 of 4




                       EXHIBIT 4
Ý¿-»Case 1:04-cv-10981-PBS
     ïæðìó½ªóïðçèïóÐÞÍ      Document
                         Ü±½«³»²¬    1725-5 Filed
                                  ïîððóïðí   Ú·´»¼03/23/09  PageÐ¿¹»
                                                   ðìñðìñîððè    2 of 4î ±º ì
Ý¿-»Case 1:04-cv-10981-PBS
     ïæðìó½ªóïðçèïóÐÞÍ      Document
                         Ü±½«³»²¬    1725-5 Filed
                                  ïîððóïðí   Ú·´»¼03/23/09  PageÐ¿¹»
                                                   ðìñðìñîððè    3 of 4í ±º ì
Ý¿-»Case 1:04-cv-10981-PBS
     ïæðìó½ªóïðçèïóÐÞÍ      Document
                         Ü±½«³»²¬    1725-5 Filed
                                  ïîððóïðí   Ú·´»¼03/23/09  PageÐ¿¹»
                                                   ðìñðìñîððè    4 of 4ì ±º ì
